                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

RURAL COMMUNITY WORKERS ALLIANCE
and JANE DOE,
                  Plaintiffs,

        vs.                                                 C. A. No. 5:20-cv-06063-DGK

SMITHFIELD FOODS, INC. and SMITHFIELD
FRESH MEATS CORP.,
                      Defendants.


       JOINT SUBMISSION REGARDING WITNESS AND EXHIBIT LISTS FOR
                   PRELIMINARY INJUNCTION HEARING

        Pursuant to this Court’s April 29, 2020 Order (Doc. 37), the Defendants and Plaintiffs

hereby submit this Joint Submission confirming that the parties have met and conferred and intend

to rely on the documents in the records and do not plan to call witnesses at the April 30, 2020,

hearing unless the Court requests the parties reach out to a particular individual referenced in the

parties’ briefing.

        The parties respectfully propose the foregoing, and are available to address any further

questions the Court may have regarding the Joint Submission.

                                         Respectfully submitted on behalf of and with the
                                         consent of all parties,

                                         SMITHFIELD FOODS, INC. and
                                         SMITHFIELD FRESH MEATS CORP.

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                                      -1-
          Case 5:20-cv-06063-DGK Document 40 Filed 04/29/20 Page 1 of 3
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                            -2-
Case 5:20-cv-06063-DGK Document 40 Filed 04/29/20 Page 2 of 3
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of April, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send electronic notification of

the same to all counsel of record.


                                                    /s/ Jean Paul Bradshaw II
                                                    An Attorney for Defendants




                                             -3-
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                   5:20-cv-06063-DGK    Document 40 Filed 04/29/20 Page 3 of 3
